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; DHAR.Al\/I PAL and VIJAY PAL,

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UNITED STATES `DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
CASE NO. l : l7-CV-OO776-AWI~JLT

-[-P-RGPQ'S-E-B'}CONSENT DECREE AND
FINAL ORDER

MARIO TOLLS, TANISHA WILEY,
TANYA MORRISON, and ARISSA
DICKSON TOLLS,

Plaintit"fs,

VS.

Defendants.

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This action was brought by plaintiffs Mario Tolls, Tanisha Wiley, Tanya Morrison, and
Arissa Dicl<son Tolls against defendants Dharam Pal and Vij ay Pal, alleging that defendants

violated the federal Fair l-`Iousing Act, 42 U.S.C.' §§ 3601, et seq., and related California state

laws, breached the warranty of habitability, and violated other housing-related laws. Defendants j

have denied all material allegations in the complaint

The parties have agreed that in order to' avoid protracted and costly litigation, the
controversy should be resolved without a trial and therefore have consented to entry of this
decree. By entering into this consent decree, defendants make no admission of liability or
wrongdoing in connection with the allegations and claims made by plaintiffs

It is hereby ordered, adjudged and decreed that:

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A. Monetary Payments
1. Defendants shall make a monetary payment in the amount of two hundred twentyj
five thousand dollars ($225,000.00) in the form of a check or checks made payable to the

Attorney-Client Trust Account of Brancart & Brancart, and shall deliver that payment to

' Brancart & Brancart, 8205 Pescadero Road, Loma Mar, CA 94021 within forty-flve (45) days of _‘
v entry of this decree, This payment shall be inclusive of any claim for damages, attorneys’ fees or

§ costs claimed by plaintiffs

B. Mutual Release & Dismissal

2. Plaintiffs and defendants shall execute a mutual waiver and release indicating that

` this decree constitutes a full and final settlement of any and all claims that each has related to the

claims in this action and the plaintiffs’ tenancies at Terrace Way. Each mutual release shall
include a waiver of Civil Code section 1542, and include all known and unknown claims.
Following payment of the monetary portion of the settlement, the parties will file a stipulation of
dismissal with prejudice pursuant to Fed. R. Civ. P. 4l(b)(ii), subject to the terms of this decree,

reserving jurisdiction for purposes of enforcement

C. Eqm'table Terms
3. Defendants, their officers, managers, and agents, shall comply with the following
terms: in
a. Defendants shall be prohibited from engaging in unlawful discrimination
in housing;
b. Defendants shall distribute to the managers of the Terrace Way

Apartments complex, and follow, a written policy providing for equal treatment of all tenants
and applicants regardless of race;

_c. Defendants and the managers of the Terrace Way Apartments complex
shall participate in a fair housing training within 30 days of entry of this consent decree, and any 4
later retained managers shall participate in a fair housing training within 30 days of their
retention, subject to the availability of such training sessions within 30 days, offered by a HUD

approved fair housing training provider, such as GBLA;

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d. Defendants shall remediate any habitability violations as determined by
Bakersfield Code Enforcement at the Terrace Way Apartments within 30 days of issuance of this
order; y

e. Defendants shall include the fair housing logo or tagline, “Equal

opportunity housing provider,” or words to that effect,l on all advertisements or postings for

lvacancies at the Terrace Way Apartments complex;

f. From the date of entry of this consent decree and forward, defendants

shall maintain copies of all rental records, including applications, reference checks, rental

agreements, correspondence, phone and traffic logs, surveillance`videos, move-out notices and
eviction documents, to the extent they exist, for a period of not less than two years.

g. Defendants shall send a letter annually to GBLA certifying that they have
complied with these terms in the preceding year,

D. Enforcement
4. The district court shall retain jurisdiction over this action and its parties for the

duration of this decree for the purpose of enforcing and modifying its terms. This decree shall be
in effect for a period of five (5) years from its date of entry,‘ or until defendants no longer own

the Terrace Way Apartments complex, whichever comes first.

Ordered this-Z_Mday of /_"’¢Q gil ,. 2019

 

lljgum/able Anth'ony W. lshii l
nited States District Judge

GREATER BAKERSFIELD LEGAL
ASSISTANCE

Approved as to content and form:

/s/Jina Kim _ , .
Attorneys for Plaintiffs

` "` ` usDC cAs""ia No. 1:17-cv-00776-Aw1-JLT;`

 

 

 

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8 APPROVED AS TO TERMS';

10 _ SEE ATTACHED

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BR.ANCART & BRANCART

/s/ Liza Crz'stol-Deman
Attorneys for Plaintiffs

/ GORDON & REES

/s/An__ciré M. Piccl'uro
r(as authorized on January 31, 2019)
Attorney for Defendants

 

 

 

 

 

 

 

 

Plaintiff Tanya Morrison Lewis Date
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13 Plaintiff/trim Di¢i<son 'Toiis Date
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Plaintiff Mario Tolls Date `
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18 Plaintiff Tanisha Wiley Date

    
 

  
    

 

 

 

 

 

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23 Defendant Vijay Pal 0 { Date

 

 

 

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BRANCART & BRANCART

/s/ Lz'za C)"istol-D'eman:
Attorneys for,Plaintiffs

GORDON & REES

/s/André M Piccz'uro
(as authorized on J'anua`r`y 3], 2019)
Attorney for Defendants

 

 

Plaintiff Arissa Dick_son Tolls

 

Plaintiff Man'o Tolls

B/M\e>im indian

Plaintiff Tanisha Wiley

 

Defendant Dharam Pal

 

Defendant Vijay Pal

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Attorneys fchlaintif¥a

GORDON & REES

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(as audior:tzec; on January 31, 2019) ‘
Attorney for Dafandants

 

 

 

 

 

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Wiley Date
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Defendant Vijay Pal Date

 

 

 

 

 

 

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